         Case 2:20-cv-00311-JCC-SKV Document 84 Filed 12/03/21 Page 1 of 2




 1                                                DISTRICT JUDGE JOHN C. COUGHENOUR
                                                  MAGISTRATE JUDGE S. KATE VAUGHAN
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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9   TIMOTHY MARTIN,                                   NO. 2:20-cv-00311-JCC-MAT
10                            Plaintiff,               ORDER ON STIPULATED
                                                       MOTION TO SUPPLEMENT
11          v.                                         CERTIFIED RECORD
12   WASHINGTON STATE                                  (PROPOSED)
     DEPARTMENT OF CORRECTIONS,
13   et al.
14                            Defendants.
15          Based on the stipulation of the parties, the Court ORDERS:

16          1.     The parties’ stipulated motion to supplement the certified record is GRANTED;

17          2.     The Clerk is DIRECTED to submit to the Washington State Supreme Court a

18   certified copy of this Order and Docket Numbers 25, 25-1, 34, 68, and 69. The record so

19   compiled contains all additional matters requested by the Washington State Supreme Court in

20   its Order of December 1, 2021.

21          DATED this 3rd day of December 2021.




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                                                       John C. Coughenour
25                                                     UNITED STATES DISTRICT JUDGE
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     ORDER ON STIPULATED MOTION TO                 1              ATTORNEY GENERAL OF WASHINGTON
                                                                          Corrections Division
     SUPPLEMENT CERTIFIED RECORD                                            PO Box 40116
     NO. 2:20-cv-00311-JCC-MAT                                          Olympia, WA 98504-0116
                                                                            (360) 586-1445
         Case 2:20-cv-00311-JCC-SKV Document 84 Filed 12/03/21 Page 2 of 2




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     Presented by:
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 3   Attorney General
 4
     s/ Aaron Williams___________________         December 3, 2021
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 6   Attorney for Defendants
 7
     Kahrs Law Firm, P.S.
 8   The Law Office of Dan N. Fiorito III
 9
     s/ Michael Kahrs______________________       December 3, 2021
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12   Attorneys for Plaintiff
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     ORDER ON STIPULATED MOTION TO            2             ATTORNEY GENERAL OF WASHINGTON
                                                                    Corrections Division
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